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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

   MARCELINO CENTENO,                             ) Case No. 17-CV-05233
       Plaintiff,                                 )
                                                  ) Hon. Sara L. Ellis
   v.                                             ) Magistrate Judge: Maria Valdez
                                                  )
   LVNV FUNDING, LLC and RESURGENT                )
   CAPITAL SERVICES, L.P.,                        )
        Defendants.                               )

   JEANETTE AKINS                                 ) Case No. 17-CV-05693
        Plaintiff,                                )
   v.                                             ) Hon. Matthew F. Kennelly
                                                  ) Magistrate Judge: Jeffrey T. Gilbert
   LVNV FUNDING, LLC and RESURGENT                )
   CAPITAL SERVICES, L.P.,                        )
        Defendants.                               )

   LAURA LEMKE,                                   )   Case No. 17-CV-05897
       Plaintiff,                                 )
                                                  )   Hon. Robert M. Dow
   v.                                             )   Magistrate Judge: Mary M.
                                                  )   Rowland
   LVNV FUNDING, LLC and RESURGENT                )
   CAPITAL SERVICES, L.P.,                        )
        Defendants.                               )

   CORDELL JOHNSON,                               )   Case No. 17-CV-06098
       Plaintiff,                                 )
                                                  )   Hon. Virginia M. Kendall
   v.                                             )   Magistrate Judge: Sheila M.
                                                  )   Finnegan
   LVNV FUNDING, LLC                              )
        Defendant.                                )

   MOTION FOR LEAVE TO CITE ADDITIONAL AUTHORITY IN SUPPORT OF
           DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Defendants LVNV Funding, LLC and Resurgent Capital Services, LP, by their counsel,

request leave to cite as additional authority in support of Defendants’ Motion for Summary

Judgment docket numbers 91-93, 105. In support thereof, Defendants state:


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       1. On March 29, 2019, United States District Court Judge Sam Spark issued an opinion in

Ozmun v. Portfolio Recovery Associates, et al., case no. AU-16-00940-SS, 2019 U.S. Dist. Lexis

54454 (W.D. Tex. Mar. 29, 2019) resolving various motions, including the Ozmun Defendants’

Motions for Attorney’s Fees and Costs and for Contempt. A copy of the reported Ozmun decision

is attached as Exhibit A to this motion together with a copy of the final judgment that was granted

in Ozmun.


       2. Ozmun was decided six (6) months after September 7, 2018, the date on which

Defendants filed their summary judgment motion (docket numbers 91-93) and four (4) months

after November 5, 2018, the date on which Defendants filed their Reply Brief (docket no. 105).

Therefore, Defendants now request leave to cite Ozmun in support Defendants’ summary

judgment argument that Plaintiffs’ case is not about consumer disputes but instead about sham

disputes by attorneys whose clients do not actually dispute their debts. Ozmun, 2019 U.S. Dist.

Lexis 54454, *15-*23.

       WHEREFORE, Defendants LVNV Funding, LLC and Resurgent Capital Services, LP,

request that the Court enter an Order granting Defendants’ motion and allowing the Ozmun case

to be cited as additional authority in support of Defendants’ Motion for Summary Judgment.

                                                    Respectfully submitted,

 /s/ Manuel H. Newburger                            /s/ Corinne C. Heggie
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 Counsel for Defendants                             Local Counsel for Defendants


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                                CERTIFICATE OF SERVICE

        This statement is to certify that a true and correct copy of the foregoing Motion has been

served via ECF on the persons who have registered for ECF notice on this, the 1st day of April,

2019.



                                                     /s/Corinne C. Heggie
                                                     Corinne C. Heggie




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